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THOMAS G. BRUTON
CLERK, U\,S. DISTR\CT COURT

IN THE FEDERAL DISTRICT COURT, CHICAGO ILLINOIS
Life Sovereignty Constitutional Amendment to Federal Constitution
>1<

Eric S. Meyer
Po Box 8013 * Case No.
Chicago IL 60608 * Judge
Pro Se Pauper * Appellate
Appellate *

* Exhibit A
Barbara Miku]ski *
Maryland Senator *

503 Har’c Senate Office Building*

Washington, D.C. 20510 *
202-224-4654 *
Appellant *

*
Robb Fraley *
Executive Vice President *

Monsanto Corporation *

 

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14018 Carole Dr. *
Bloomington IL 61705 *
Appellee *

*
Hugh Grant *
Chairman and CEO *
Monsanto Corporation °“

3421 State Route 51 South *

Po Box 1837 *
Centrailia IL 62801 *
Appellee *

*
Brett D. Beremann *
President and COO *
Monsanto Corporation *
N. John Street *
Po Box 50 *
Farmer City, IL 61842 *
Appellee *

*
Pierre Courduroux *
Senior Vice President *

Monsanto Corporation *

 

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1577 80th Street
Monmouth, IL 61462

Appellee

Kerry J. Preete

Executive Vicé President,
Global Strategy
Monsanto Corporation
State Route 48

Po Box 410

Stoneington, IL 62567

Appellee

Dr. Michael K. Stern
Vice President,
Monsanto Corporation
26207 Davidson Road
Jerseyville, IL 62052

Appellee

Amgen
4 Parkway N # 150

DeerHeld IL 60015

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847-374-0800 *
Appellee *

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Genentech *
Mailstop 28-1-C *
One Amgen Center Dn`ve *
Thousand Oaks, CA *
91320-1799 *
Appellee *

Christopher A. Viehbacher *

CEO, Sanofi; Chairman, Genzyme*

500 Kendall Street *
Cambridge, MA 02142 *
617-252-7500 *
Appellee *

>I¢
David Meeker, M.D. *

President, CEO, Genzyme *

500 Kendall Street *
Cambridge, MA 02142 *
617-252-7500 *
Appellee *

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William Aitchison *

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Head of Global Manufacturing

500 Kendall Street *
Cambridge, MA 02142 *
617-252-7500 *
Appellee *

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John C. Martin, PhD *
Chairman and CEO *
Gilead Sciences *
333 Lakeside Drive *
Foster City, CA 94404 *
650-574-3 000 *
Appellee *

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John F. Milligan, PhD *
Gilead Sciences *
333 Lakeside Dn`ve *
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650-574-3000 *
Appellee *

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George A. Scangos, Ph.D. *

CEO and member of Board *

Biogen Idec *
14 Cambridge Center ”‘
Cambridge, MA 02142 *
7 81-464-2000 *
Appellee *

>!<
Susan H. Alexander *
Executive Vice President, *
General Counsel and *
Corporate Secretary, *
Biogen Idec *
14 Cambridge Center *
Cambridge, MA 02142 *
7 81-464-2000 *
Appellee *

United States Dept of Agriculture*

77 W Jackson Blvd #20 *
Chicago, IL 60604 *
312-353-1044 *
Appellee *

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Centers for Disease Control

and Prevention *
1600 CliPcon Rd *
Atlanta, GA 30333 *
404-639-3311 *
Appellee *

=x<
Néstor Oson`o *
President of the Economic *
And Social Council *

750 United Nations Plaza *

New York, NY 1_0017 *
Appellate *

>x<
Samantha Power *
U.N Security Council *

750 United Nations Plaza *
New York, NY 10017 *

Appellate *

United States Patent Oche *
Mail Stop LEGAL *

Randolph Building *

 

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401 Dulany Street *
Alexandria, VA 22314 *
Appellee *

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Laws Involved:
H.J. RES 59
Monsanto Protection Act
U.S. Patriot Act
Civilizational Stability U.S.C. § 14
Guarantee Clause (Article IV, Section 4, U.S. Constitutional
Amendment)
Obscenity (18 USC Chapter 71) _
Proposed U.S. Constitutional Amendment. § 31 .

Now, here comes the Appellants to ensure human
survival on earth can continue. Towards this, Biotechnology
must end, and the economic political support for CARE by
doctors, and the terrorists Who do the money changing, must
cede power lawfully to government, not to self-enrichment

Biotechnologyl has been given the legal capacity to
exist in our nation, but God warns continuance Will imperil

human existence and endanger all life on this earth.

’ Means, “Any technological application that uses biological systems, living organisms, or derivatives
thereof, to make or modify products or processes for speciHc use” (from entry on Wikipedia, December 9,
2013, citing source of definition being The Convention on Biological Diversity (article 2. Use of Terms).
United Nations. 1992 Retn`eved on February 6, 2006, according to Wikipedia contributor.

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Pursuant to God’s law, biotechnology must be declared
a medical innovation, and subject to the diviner requested
Concordat between Congress, President Barack Obama and a
majority of the Supreme Federal Court Justices, to end all
medical and psychiatric CARE forever in the United States.

The United States needs order and stability, but
Biotechnology is prophetic to press hard and eventually destroy
the United States, both at the cellular level by causing the DNA
strains to become shortened, leading to new diseases and
substantially diminished innate ability to reproduce except by
recumbent use of stem cells li‘om a host that is compatible, and
also at a political level, as riots worldwide and in, the United
States will target concentrated points of presumed corruption.
Biotechnology is a false promise, or more precisely, hope of
perpetual bondage to new genetic restorative efforts

According to God, four super-races have inhabited this
earth over the past cycle of roughly 80,000 years. They are the
human race, the Grays, the Ceriums, and the unspecified ones
who bestowed the world with optical discs (CD-ROMS) in
caves.

Nickoli Kardoski, a Russian Astronomer, has developed

six levels of civilization to illustrate progression and

capabilities of each level of intelligent life throughout the

 

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Universe. Humanity is still at Type Zero, the same as hunter
gathers, yet we as a species are on the verge of ascent into Type
l Civilizational status The Grays are a race from outside our
solar system, discovered biotechnology, but got trapped by its
curse, and now must agree to clandestine concordats with
human governments, like the U.S. F ederal Government. Anti-
gravity crait that run on isotope~Thorium with isotope element
115 react with manganese to energize mercuric solution in a
caduceus mercury vortex engine, allowing speeds unfathomable
by Type Zero races. The Grays are a Type 1 Civilization,
forced to collect human stem cells from human civilians
through a military- government concordat, to allow the Grays to.
slow their extinction, due to damaged DNA sequences from
decades of biotechnology laced foods and consumption of
products (e.g. drugs) that altered forever in a horrible manner,
the deoxy ribonucleic acid of the Grays as a collective race.

The Cerium race, however, choose to quickly ban all
biotechnology, and focus on other technologies The four race,
who placed CD-ROMs in caves several dozen thousand years
ago, were wise like the Cerium race, and avoided biotechnology
with proper law. According to Kardiski’s system, the Cerium
race would be a mature Type l Civilization, with the initial

beginnings of rudimentary time travel capacity (yet according

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to David Hatcher Childress,2 as recent at in 1990s, time travel
was a weapon in the making, not yet manifested). Humanity
has only manipulated the time line with project Rainbow anti-
mine project of World War ll using hundreds of miles of copper
wire and high power Electromagnetic Pulses. The unspecified
race who carved the caves using lasers, were here tens of
thousands of years ago, and are now long gone physically, yet
connect telepathically to those who study the symbols encoded
on the laser discs (CD-ROMS) as the paintings detail how to do;
they were a type 2 Civilization, nearly a type 3.

The United States Federal Govemment desires a
defensive time travel weapon, yet tachyons must be hamessed
for this to be focusable, using super conductor magnets.
According to Bible Code, tachyons will be discovered in the
2040$, and will both be a discovery made possible by the
spiking of technology that is prophetic if we, as the human race,
can keep civilization stable into the year 2018, when new
peaceful, strategic technology for support of all humans to live
as brothers and sisters will be discovered and emerge as
distributable on a planetary basis.

Sometimes a Race may learn more from the race just
slightly ahead of it, to be able to better comprehend the danger

2 Civilizational Historian. As an autodidact, he has been discredited due to lack of academic credentials in
the history books and research published by Adventures Unlimited Press.

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up ahead. Thus, the Grays mistakenly made the potentially
species fatal mistake of allowing biotechnology, without
quickly illegalizing it as a prohibited technology. The Cerium
race has the wisdom to rapidly eschew all biotechnology
temptations for proiit, control, bondage and weaponization
from this curse, yet Appellees here today are prophetic to argue
for less controls on biotechnology, so as to intensify human
suffering on a massive scale for the profits of a few, the shift of
power from the majority into the hands of the nous of control of
companies like Monsanto and Genetech, and bondage of
billions of chattels to the whims of the medical, banking,
insurance industries that pit world governments and their
respective militaries against each other, for sheer profitability of
war and accessibility of human organs for either research by
biotechnology firms or for human organ recycling of inmates
and captured enemy combatants to use to highest bidders of life
extension biomedical products, not limited to stem-cells and
cutting out of the henrt, liver, kidneys from living, healthy
victims of the banker Elite.

Stem-cells are inherently tied to abortion, as Eugenicists
plan to setup prisons to farm stem cells. According to plan

reveled by God, to Appellant, the Freemasons, or Illuminati, or

Bilderberg, or World Elite, or whatever you choose to name this

 

 

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granfallon3 of terrorists, healthy women inmates will be
recruited for a lifetime of being raped, impregnated, then near 9
months the baby aborted for stem cell collection, with a short
six week long rest until more chattels must do more rapings, to
cause more pregnancies, and thus more lucrative stem-cells.

Biotechnology is tainted no differently as an industry as
Bayer Corporation in its notorious alliances with the Nazi
regime of Adolph Hitler. According to various sources freely
available at public libraries, Bayer Corporation bought captured
American Servicemen and women, who along with American
allies the Russians and Chinese in World War Il, were boxed
like animals, and used to advance science, improve medical
knowledge, and develop and test drugs, including
chemotherapy drugs and other drugs still in use today
worldwide.

Following the process of the slow (yet partial and
mostly cosmetic) disbanding of Nazi power post August 1945,
Bayer Corporation allegedly was allowed to continue to retain
some chattels for experimentation and advancement of the
scientific and medical professions. According to God, even in
the 1980s, political dissidents have been sold to Bayer
Corporation. According to freely available books at libraries,
Bayer Corporation in the 2000s was found to be selling Hepan`n

3 Definition of ‘granfallon’ is ‘social group’.

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laced With infective HIV virus, and when asked if Bayer was
going to recall the millions of vials of drugs from the United
States market, Bayer Corporation refused, says published
sources.

Hailed as humanitarians (so-called philanthropists),
even having the guise of a good repute, individuals with wealth
have been bestowing curses of HIV infected immunizations
onto Aiiican nations, towards the hidden purpose of population
control. ln the guise of protection from diseases like polio, the
Gates Foundation has been publicly cited for giiting disease.
Theorists suggest Bill and Melinda want to ease hunger pain by
allowing a more graceful death of Africans by HIV/AIDS
infections. Compounded with promiscuous and the failure of
fidelity in marriage in that region, the curse of the Microsoft
guru has intensified its hold to ravage the entire continent of
Africa with repent infection levels unseen in other parts of the
world.

ln impoverished Russia, in past years, the patients often
had to share needles for injections of various drugs, due to lack
of funds to buy fresh IV needles and tubing. However, from
the data evaluated by Appellate, infection rates of HIV/AIDS is
still lower in Russia than where Bill and Melinda Gates gave

free vaccines and other biotechnology derived products

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Biotechnology is directly responsible for causing human
and animal suffering and death. The green monkeys have been
infected, with Polio, to make the Salk/Sabin vaccines
reportedly, yet the green monkey mothers and baby monkeys
are separated, as animals are often cut open to produce
biotechnology products, in this instance, vaccines for Polio.
Statistical evidence may be contradictory at best; from the data
Appellant believes to be more true, vaccines provide zero
protection from any disease, and lead patients into weakened
immune systems, seeds embedded for later cancer, and the true
purpose of vaccines: Soft kill of patients at the age of
obsolescence, timed by the biotechnology companies to end life
around retirement or about age 65.

According to data believed reputable by Appellant and
affirmed by God, biotechnology is a profitable means of
producing more dependency on interventions by physicians and
psychiatrists, funding by bankers, underwrighting by insurers,
and crafry new laws to cause litigation against the terrorists in
the white coats with the caduceus, to be nearly impractical from
the standpoint of cost to potential gain ratio, not to mention the
political consequence to families whose names and faces splash
across the news as having sued (regardless of they win or not

against the terror causing industry of CARE) by the bestowing

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of extra medical, psychiatric services for such adversaries to the
industries of self-enrichment

Towards clarification of the Eugenicist intent, and
hatred of humanity, the Appellate respectfully wishes to move
to the court to allow cross examination of Appellees and to
include about 2,250 pages of scriptures and other writings by
Appellant, to help solidify the assertion that doctors have been
trying to silence the voice of truth since the rape of Appellant
was done to him on July 18, 2010 by the assigned psychiatrist
at 930 South Detroit Ave, Toledo Ohio, at the State Mental
Hospital to discourage Appellant from continuing to speak
against doctor CARE and the tyrannical drugging of patients in
an attempt to shut up their voice.

For good measure, and to protect himself from being
prosecuted for the rape, David Bellian placed Appellant on a
legal guardianship and falsely diagnosed Appellant as mentally
ill to the point of being unable to manage his own funds. Only
with Ohio Supreme Court Disciplinary Council writing
Appellant back to deny an investigation into Jeffery Fort,
E.S.Q., the court appointed legal guardian of Appellant, did
both Jeffery Fort and the Judge inflicting the court order, Hon.

Jack Puffenburger, stand down on the guardianship.

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Later, some two years after suffering the rape by an
angry psychiatrist for signing a release of information (both
medical and personal records) for President Barack Obama,
Appellant was able to finally meet with a court official at 700
Adams Street, Toledo, to discuss moving the guardianship into
dormant status since Appellant was married. Pursuant to Ohio
Revised Code, a ward, upon marriage, temporarily transfers the
guardianship from an attorney or parent, to the spouse, until
infinnity, senility, death or divorce of the spouse. The
Guardianship was done as a weapon against Appellant, to entice
Appellant to shut up about the rape and doctor tyranny, and to
silence the Appellant about the harmful nature of all
biotechnology and all drugs of doctors and pharmacists

Guardianship was released by Hon. Jack Puffenburger
around September 11, 2012, possible in fear of impeachment
About six months of seeking legal representation to sue
hospitals and doctors involved in the improper shielding of
rapist Bellian from the law, Appellant launched about 26
lawsuits, mostly Civil Complaints, with a few Criminal
Complaints, between February 2013 and July 14, 2013.

This lawsuit blitz was financed by payday loan stores,
with generous wife borrowing about one thousand dollars to

print and photo copy evidence against the rapist and his

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industry of psychiatry, and against CARE and physicians,
against medicine in general, and against pharmacies including
Rite Ai'd, multiple individuals Appellant believed were blocking
justice against the corrupt system of CARE, that forced
biotechnology onto patients using legal plans like Medicaid, to
entice patients to shut up lest more druggings and more
treatments be done like ECT shock torture, or lobotomies as
advertised at the State Mental Hospital of Ohio (NOPH or
“Northwest Ohio Psychiatric Hospital”) had on a wall.
Biotechnology as an industry, needs legal leniency to
conduct murder of patients who threaten any whisper of the
researchers and doctors, or other aspects of the CARE team like
bankers, insurance, and judges For biotechnology to proiit,
lives must be sacrificed to advance the knowledge and
technologies involved, and it is an irony that biotechnology
firms assert their purpose is to alleviate human suffering when
in truth all manufacturers of medications for both psychiatrists
and physicians, self-enrich from the imprisonment of those who
oppose the political nature of this terrorist granfallon. Alleviate
whose suffering? The financial woes of the doctors conducting
the studies, or judges at the County level who order victims to
receive CARE to destroy the brains of those intelligent enough

to pose a significant risk of litigation, and medicate with blood

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pressure, heart medicine, diabetes insulin, diuretics, and other
drugs for those persons less threatening but still undesirable,
such as has been done to my wife Melanie, who consumes over
25 unique medicines, she has been remembered for proudly
announcing to Emergency Room staff on numerous occasions
in July 2013 prior to the marital separation by banker-doctor
terrorists working with the bribed judges of Cook county
(Illinois) and Hancock county (Ohio) and Lucus County (Ohio).

Appellant humny wishes to invoke U.S.C. § 14
Civilizational Stability with reason being to prevent riots
against the Mental Health Parity Act and the Affordable Care
Act o_f` Richard Haas in concordat with Barack Obama as the
fallguy/pawn of the banker Elite and the doctors, insurance and
educators aligned to corrupt judges with bribes and unlawful
gifts at the county level and up.

Respectfiilly, Appellant named Clearance Thomas as
Appellee due to the fact the Supreme Court justice has worked
as an attorney, aligned to the interests of the firm Monsanto.
There being a strong conflict of interest, this Supreme Court
destined court document (as signatures to end all CARE in the
United States are humny sought from President Barack Obama,
majority vote of Congress, and a majority of Supreme Court

Justices): The joint Concordat to end CARE.

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Biotechnology is a wholesale method to sell dependency
on drugs to the world, and Citizens of the United States, at
certain death for the Federal Republic by way of violent
prophetic protests corning soon against CARE, and its present
permutation of Aff`ordable Care Act of Richard Haas blamed on
Barack Obama.

The United States Patriot Act, as supported by John
Ashcrofr and requested by God, is prophetic to work in tandem
with laws prohibiting kidnapping, murder, rape and perjury, the
crimes of which all biotechnology firms seem the have
immunity from, and is why the Monsanto Protection Act to
legalize kidnapping, murder, rape and perjury to obtain, retain
and drug patients in the guise of “they don’t know what is best
for themselves, only a professional psychiatrist can diagnose
what a person really needs” is flattering to Satanic plans of
world domination and deterioration of both State and Federal
United States sovereignty of the respective governments

Patients, or more precisely truthful, victims of
biotechnology embracing but humanly deprivation of life,
liberty and property for arbitrary political reasons and
occasionally for reason of mental retardation, the testers of
biotechnology drugs and medical and psychiatric innovations in

procedures, treatments and CARE of diseases like the so-called

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Schitzo-effective disorder, violates rights of the patients The
specific right of patients seized by biotechnology firms and
their accomplices the research hospitals that forcibly inflict
CARE on non-consenting patients, is F ederal U.S.C. Article IV,
Section 4, the Guarantee Clause of the 1780$, the right to a
republic type government

In the Appellates own experience, while receiving
unwanted, unnecessary and harmful CARE, the right to
communicate with the outside world is taken fi'om the patient.
Appellant personally has lost the right to send out mail at John
Madden State Mental Hospital of Loyolta University, and at
University of Chicago at Illinois, lost_ the right to mail or make
phone calls

Appellant respectfully wishes to move the court to act
with urgency, due to the fact that John Strogger Hospital, in
Chicago, Illinois, had used psychiatric restrains on Appellant
from about 8:45pm until around 4:40pm the next day, and then
moved the Appellant to Loyolta’s Madden hospital with 18
hours of limited water or beverage, no restroom privileges
except a plastic urinal, for reason Appellate was a documented
“threat to the establishment”. Indeed, I did serve the
psychiatrist who issues biotechnology products like

psychotropic drugs and other CARE into an Appellate Court

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case to modify Illinois from a Minimurn Wage state to a Living
Wage state. The psychiatrist did acts of perjury against
Appellant, to conceal doctor oaths to protect the cove of
sorcerers and witches.

God says He despises Sorcery and Witchcraft of the
Biotechnology firms, and God says He respectfully wishes to
move this Court to act egregiously and decisively in a bold
stand to counter the Satanic religion of the bankers, doctors,
educators, insurers and county court judges working in
conspiracy to destroy family and undermine the human
experience

Purity of the human experience, as God intends, is for
health to be sought, realized and maintained with nutritious
non-genetically modified foods, natural herbs untainted by
genetic corruption of the genome, and for the legal system to
protect human rights of the many even if such protections of the
majority costs profits of the elite few.

Enter Area 51, at Majestic 12, and ask a Gray what they
think should be done to the Satanic Biotechnology directors,
officers, presidents and others aligned to embrace slavery of
the masses for the profits of the few elite. The Grays lost their

chance to reproduce sexually without capture of human stem

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cells, a process that aborts as miscarriage or abortion,
depending on your semantics of language, the lives of humans

The Grays are potentially doomed to bondage to the
F ederal United States Government for privileges of artificial
insemination of human women, to later remove the life in the
women for raw biological material - stem cells ~ in a mad rush
to try to save the Gray race from total extinction. This Court
document is about creating new law to allow felony criminal
prosecution be done by any average person against any terrorist,
and to explicitly define terrorist as doctor who prescribes
CARE and as nurse who commits acts of terrorism against
patients to self-enrich and to intensify the political power of the
industry of CARE by funding the sponsors of terrorism,
principally the bankers, with backing by the insurance industry,
educational industry, and the equal axis’s of evil: The medical,
psychiatric and scientific community that prescribes death for a
fee that the citizens must pay through taxation and threat and
actual hospitalization for opposing the doctrines and agenda of
the banker elite or their accomplices of Satanic financial
profiteering intention.

To protect God’s kingdom and the world, including
United States Citizens from banker sponsored terrorism via

CARE that involves the infliction of medicine by biotechnology

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companies, God reminded me that l respectfully wish to move
the Court to append the Obscenity Law of 18 USC Chapter 71 ,
to specifically include the human genome as unlawful
pomography, and allow prosecution of those who possess DNA
sequences in excess of 1024 sequences with a Misdemeanor, or
in excess of ten million DNA sequences, a felony. God does
not want life patented, and wants all existing patents on life and
on biotechnology products and the drugs associated, to be
declared unlawful and returned to the public domain, to prevent
further profits from being made by enslaving humanity to
perpetual predatory status as space explorers who must seize or
barter, depending on the militarization and intelligence of the
host, for impregnating its females to harvest stern cells in a vain
attempt to delay extinction. Biotechnology progress will only
further seal humanities fate on the same path as the Grays: To
continuous capture and use of host DNA to support an ailing
race from irreparable damage inflicted by trusting
biotechnology and science, through phannacology and
psychotropic drugs, to destroy an entire race and all hope the
race may have to reproduce without mixing host DNA with
own to produce even more uncorrectable, flawed by God’s
standard, life. Biotechnology will assure the best means of

guaranteeing peace - by restricting humanity from existing

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without perpetual consumption of nine month old babies and
young children, to harvest stem cells in a mad and temporary
effort to acquire relief from damaged DNA. Stop
biotechnology now, or perpetual bondage to the elite bankers
will ensure dependence on massive amounts of life to sustain a
few lives due to ravaged nature systems perfect by God but
corrupted by mankind’s lust for limitless wealth and control by
any means, including the ultimately lethal biotechnology.

Appellant humbly wishes to move the Court to work
with the United Nations to assist in drafting the new legislation
to protect humanity and the United States from biotechnology
and the resultant harmful or lethal medication, and for the
United States Pederal Government to issue $880 million
immediately as an emergency expenditure, to support the
United Nations in protecting humanity from biotechnology in
the United States and globally.

God and l respectfully wish to move the Court to fund
the Centers for Disease Control, with $250 million to
specifically assure destruction of all biotechnology products,
including all foods and drugs made using biotechnology,
starting anon.

God respectfully wishes to move this court to order the

U.S. Patent Office to reclassify all biotechnology products and

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all DNA as public domain but pornographic, as prohibited by

Federal Constitutional Amendment law to possess DNA code

sequences for any purpose. Also l humbly wish to move the

court to illegalize all biotechnology derived food products, by

declaring such foods level one biohazards, to be disposed of by

incineration method, under supervision of the Centers for

Disease Control with the same safeguards and security as is

customary for level one biohazards.

1

18 hours of limited water oi' beverage .............. 28

19803 ................................................................. 16

199OS ................................................................. 12

2

2,250 pages of scriptures and other writings by
Appellant ...................................................... 19

2018 ................................................................... 13

2040s ................................................................. 12

8

80,000 years ...................................................... 10

9

930 South Detroit Ave, 'l`oledo Ohio ................ 20

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a ward, upon marriage, temporarily transfers the
guardianship ................................................. 2 l

aborts as miscarriage or abortion ...................... 30

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AFFIDAVIT OF MECHANICAL COMPLIANCE

This document (above this page) written using Times
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margin, all pages paginated, with index and list of laws
involves Word Court is at 3,910 spanning 38 pages
Excluding the table of contents, Word Count is at 4,233 +~15.
spanning 34 pages Total Document at 6,3 82 words / 42.

As the undersigned, l certify the mechanic compliance

of this document as stated above, under penalty of perjury.

 

(Eric Sebastian Meyer) December 2013

As notary, I issue my seal having verified the identity of
the signer, and having heard the signer affirm this document
complies, to best of Eric S. Meyer’s knowledge, to the above
standards of mechanical compliance pursuant to last known to
the signer Eric Sebastian Meyer, the rules of the Federal

Supreme Court.

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AFFIDAVIT OF APPELLATE ERIC SEBASTIAN
MEYER

1. l assert, under penalty of perjury, that l use the
title Service Agent of God because l firmly
believe l have fulfilling divine purpose, of
prophetic restructuring of civilization pursuant
to God’s will and God’s law;

2. l assert, under penalty of perjury, that l am the
author of the above court Appellate document,
intended to help move our world, nation, state
and community towards proper alignment
with God’s divine plan and coordination

3. l assert, under penalty of perjury, l am victim
to biotechnology companies, via psychiatry,
doctor CARE, and the hatred of my doctrine
by members of the Elite Banker granfallon
exactly as I have written and documented

4. l assert, under penalty of perjury, all
statements are either factual, believed to be
true by preponderance of evidence method, or
specified to be from God and thus were truly

believed with good cause to be of origin from

31

 

 

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God, I stand ready to clarify in Court all
statements and assertions of this document,
towards the purpose of law creation,
appending, repeal or affirmation, as applicable
under proper Court procedure and due

process

Affirmed under penalty of perjury all the above are true,
correct, and accurate, to the best of my knowledge and
capacity to verify at the time of writing, within reasonable
limits of times, effort and money to perform such

verifications of all content contained in this document.

Swom as true, correct, and accurate, to the best of my

knowledge, this j l l day of December, 2013.

QA)W<WJFB

(Eric Sebastian Meyer)
(alias Service Agent of God)
(alias Eric S. Meyer / 553)
As notary, 1 have verified the signer’s identity and

issue my seal pursuant to law. The signer has affirmed this

32

 

 

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Affidavit as true exactly as written and represented, in my
presence prior to his signing

Respectfully, Notary

 

, DoFFcclAL sEAL
ina R. Aguirre
' NoTARY Pursch
sTArE oF iLLlNol
MYCoMMlssloN ExPlREss/r/zoies

 

 

 

My Commission Expires on l / ap /&O / (@

33

 

